                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION at AKRON


 IN RE FIRSTENERGY SOLUTIONS                             Case No. 18-50757-AMK
 CORP., ET AL.,
                                                         Chapter 11
        Debtors
                                                        Honorable Alan M. Koschik,
                                                        United States Bankruptcy Judge


 FIRSTENERGY SOLUTIONS CORP.,

        Plaintiff,
                                                        Adversary Proceeding 18-5100
 V.

 BLUESTONE ENERGY SALES CORP.,

        Defendant.



                    REPLY MEMORANDUM IN SUPPORT OF
              DEFENDANT’S MOTION TO WITHDRAW THE REFERENCE

       Defendant Bluestone Energy Sales Corp. (“Bluestone”), through counsel, and pursuant to

28 U.S.C. § 157(d) and Rule 5011 of the Federal Rules of Bankruptcy Procedure (“Fed. R.

Bankr. P.”), submits this Reply Memorandum in support of its Motion to Withdraw the

Reference of the Adversary Proceeding filed by Plaintiff FirstEnergy Solutions Corp.

(“FirstEnergy” or “FES” or “Plaintiff”). In further support of its Motion, Bluestone respectfully

states as follows:

                                      INTRODUCTION

       FirstEnergy’s Objection to Bluestone’s Motion to Withdraw the Reference fails to

dispute and/or concedes several critical facts and arguments that weigh heavily in favor of

withdrawing the reference. For instance, FirstEnergy does not dispute that its breach of contract




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claim is non-core, that Bluestone is entitled to a jury trial on that claim, that Bluestone has in fact

made a timely jury demand, and that Bluestone has expressly not consented to the Bankruptcy

Court entering a final judgment in this matter. These undisputed facts, standing alone, are more

than sufficient to demonstrate cause to withdraw the reference.

       Yet, instead of challenging these facts or arguing that withdrawing the reference is wrong

or improper, FirstEnergy merely claims that it is premature and, perhaps, futile. According to

FirstEnergy, Bluestone’s request to withdraw the reference is premature because the Bankruptcy

Court has not determined whether the matter is core or non-core and because this dispute is not

yet ready for trial. FirstEnergy further asserts that withdrawing the reference is futile because

FirstEnergy boldly asserts that it is virtually guaranteed to win summary judgment on its

turnover claim, thus eliminating any need for trial. These arguments, as should be apparent on

their face, are without merit. As explained below, this matter is indisputably non-core; there is

cause to withdraw the reference; withdrawing the reference is not premature; and, the relevant

factors weigh heavily in favor of withdrawing the reference for the entire Adversary Proceeding.

                                           ARGUMENT

I.     CAUSE TO WITHDRAW THE REFERENCE AUTOMATICALLY EXISTS AS A
       RESULT OF BLUESTONE’S JURY DEMAND.

       On May 28, 2019, Bluestone filed its Answer to FirstEnergy’s Adversary Complaint,

expressly invoking its right to a jury trial and stating that it does not consent to a final

determination of this proceeding by the Bankruptcy Court. [See Adversary Complaint and

Answer, attached respectively as Exhibits A and B.]            In its Opposition to the Motion to

Withdraw the Reference (“Response”), FirstEnergy concedes these facts, noting that it “does not

dispute Bluestone’s demand for a jury trial on [the] Breach of Contract Claim, or the propriety of




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conducting such trial in District Court[.]”1 See Response at p. 8. It is therefore undisputed that

Bluestone is entitled to a jury trial on Count II of the Adversary Complaint, that it has timely

invoked that right, and that the Bankruptcy Court can neither conduct such a trial nor enter a

final judgment on that Count. These facts, alone, are sufficient to grant Bluestone’s Motion and

withdraw the reference of this Adversary Proceeding.

       In Caudill v. Burrows (In re Oasis Corp.), 2008 U.S. Dist. LEXIS 122116 (S.D. Ohio

June 18, 2008), the Court explained why a motion to withdraw the reference must be granted

when a civil jury trial is properly demanded:

       A bankruptcy judge is not authorized to conduct jury trials absent special
       designation by the district court under 28 U.S.C. § 157(e) and consent of the
       parties. The Seventh Amendment provides for the right to a trial by jury: ‘In
       suits at common law, where the value in controversy shall exceed twenty dollars,
       the right of trial by jury shall be preserved, and no fact tried by a jury shall be
       otherwise reexamined in any Court of the United States, than according to the
       rules of common law.’ U.S. Const., Amend. VII. The parties do not dispute that
       Defendants are entitled to a jury trial on the state-law claims set forth in Counts
       One through Five.

       Where the party seeking withdrawal of the reference is entitled to a jury trial
       under the Seventh Amendment, cause to withdraw the reference automatically
       exists.

          In re Oasis Corp., supra, at *6 – 7 (citing In re Infotopia, Inc., 2007 U.S. Dist.
                 LEXIS 74087, *2 (N.D. Ohio Sept. 26, 2007) (emphasis added)).

       Consistent with Oasis Corp., supra, courts have generally held that the properly exercised

right to a jury trial, on its own, constitutes sufficient “cause” to withdraw the reference where

there is no mutual consent to trial before the bankruptcy court. See Sergent v. McKinstry, 472

B.R. 387, 405 (E.D. Ky. 2012) (“Because the Plaintiff has a jury trial right on all of her causes of

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       These admissions implicitly and necessarily establish that FirstEnergy’s breach of contract claim is in fact
       non-core. Otherwise, Bluestone would have no right to a jury trial before the District Court. See also See
       Messinger v. Chubb Grp. Of Ins. Cos., 2007 U.S. Dist. LEXIS 35842, *6 (N.D. Ohio May 16, 2017) (A
       proceeding “seeking to adjudicate primarily private causes of action[] is distinct from the restructuring of
       debtor-creditor relations, which forms the heart of the federal bankruptcy court’s jurisdiction.”) (citation
       omitted).


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action, cause to withdraw the reference ‘automatically exists’ regardless of the remaining

factors.”) (citation omitted); Rabin v. Skoda Minotti & Co. (In re InkStop, Inc.), 2012 U.S. Dist.

LEXIS 11377, *5 (N.D. Ohio Jan. 31, 2012) (“[P]laintiff’s right to a jury trial, jury demand and

defendants’ refusal to consent to final determination by the Bankruptcy Court demonstrate

independent and sufficient ‘cause’ to withdraw the reference of the adversary proceeding.”); In

re 131 Liquidating Corp., 222 B.R. 209, 211 (S.D.N.Y. 1998) (“[I]f a case is non-core and jury

demand has been filed, the district court may find that the inability of the bankruptcy court to

hold the trial itself constitutes cause to withdraw the reference.”); Growe v. Bilodard Inc., 325

B.R. 490 (D. Me. 2005) (“[A] valid jury demand can have the effect of mandating withdrawal to

the District Court for trial.”); LHC, LLC v. Club Sporting Consulting Grp., Inc., 2015 U.S. Dist.

LEXIS 89011, *3 (N.D. Ill. July 8, 2015) (finding cause to withdraw reference where defendants

in adversary proceeding neither waived right to jury trial nor consented to trial in bankruptcy

court); Peachtree Lane Assocs., Ltd. v. Granader, 175 B.R. 232, 235 (N.D. Ill. 1994) (“‘[C]ause’

to withdraw the reference automatically exists in cases where the party seeking the withdrawal is

entitled to a jury trial under the Seventh Amendment.”) (quoting In re Americana Expressways,

Inc., 161 B.R. 707, 709 (D. Utah 1993)); and In re Hardesty, 190 B.R. 653, 655 (D. Kan. 1995)

(“Sufficient cause for withdrawal of the reference exists where the adversary proceeding

concerns matters for which there is a right to a jury trial, a timely demand for a jury trial, and no

mutual consent to trial before the bankruptcy court.”).

       The preceding authority demonstrates that withdrawal of the reference is warranted

where, as here, (a) a jury trial right attaches to the claim sought to be tried, and (b) the party

entitled to the jury trial has asserted that right and has not consented to a final determination by a

bankruptcy court. Because Bluestone is entitled to a jury trial on Count II, has timely invoked




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that right, and has not consented to a final determination by the Bankruptcy Court, cause to

withdraw the reference “automatically exists.”

II.    CAUSE EXTENDS TO SUPPORT THE WITHDRAWAL OF FIRSTENERGY’S
       PURPORTED TURNOVER CLAIM AS WELL.

       Further, Bluestone’s properly exercised jury trial right is grounds for withdrawal not only

of the non-core breach of contract claim (Count II), but also of the Plaintiff’s “turnover claim”

(Count I). District Courts routinely allow withdrawal of the reference even in “core” cases

where the applicable factors counsel in favor of withdrawal. See In re Holman, 325 B.R. 569,

572 (E.D. Ky. 2005); see also In re Northwest Airlines, 384 B.R. 51, 59 (S.D.N.Y. 2008)

(collecting authority of courts withdrawing the reference in core proceedings). Courts have

specifically held that “the need for a jury trial outweighs the determination that the matter is a

core proceeding and supports granting a motion to withdraw.” Steed v. Knox Forex Grp., LLC

(In re Rivas), 2009 U.S. Dist. LEXIS 81546, *8 (E.D. Tenn. Sept. 8, 2009); see also Adelsperger

v. 3D Holographics Med. Imaging, Inc., 2019 U.S. Dist. LEXIS 85792, * 10 – 11 (N.D. Ind.

May 21, 2019) (granting motion to withdraw both core and non-core matters because “the

circumstances of the claims are intertwined, and [] it would be impractical to separate them”).

       This is particularly true where, as here, the Plaintiff’s claims are pleaded in the alternative

and based upon exactly the same set of factual allegations and agreements.               Count I of

FirstEnergy’s Adversary Complaint is pleaded as a turnover claim under section 542 of the

Bankruptcy Code. Yet, in reality, Count I is nothing more than a garden variety breach of

contract claim pleaded in the alternative as a turnover claim. Count I seeks the exact same relief

as the breach of contract claim asserted in Count II—recovery of an allegedly fixed amount of

damages for Bluestone’s purported failure to make a “Final Payment”—and will require

consideration of the same evidence and same arguments. Indeed, resolution of Count I will



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depend on findings of fact, such as the precise amount of coal sold and/or remaining and the

amount of any payment owed, for which Bluestone has requested to be decided by a jury.

FirstEnergy’s two claims are thus so completely intertwined that it would impractical, if not

impossible, to separate them.

       Under these circumstances, “cause” plainly exists to withdraw the reference for all

proceedings. See In re Sevko, Inc., 143 B.R. 114, 116 (Bankr. N.D. Ill. 1992) (separately

pending matters in district and bankruptcy court, based upon the same common operative facts,

was cause for withdrawal of reference, citing the need for “reducing duplicative proceedings to a

single judicial forum”); In re Enviro Scope, Inc., 57 B.R. 1005, 1007 – 08 (E.D. Pa. 1985) (cause

existed for withdrawing even the reference of a “core” proceeding to bankruptcy court where

common factual and legal questions existed in proceedings pending before district court).

III.   THE REMAINING FACTORS WEIGH IN FAVOR OF WITHDRAWAL.

       As noted in Bluestone’s original Motion, these factors include promoting judicial

economy, uniformity in bankruptcy administration, reducing forum shopping and confusion,

conserving debtor and creditor resources, expediting the bankruptcy process, whether a party has

requested a jury trial, and whether the proceeding is core or non-core. See In re InkStop, Inc.,

supra, at *3 (N.D. Ohio Jan. 31, 2012) (citation omitted). Contrary to FirstEnergy’s arguments,

these factors weigh heavily in favor of withdrawing the reference.

       A.      Judicial Economy, Conservation Of The Parties’ Resources, And Expeditious
               Case Resolution Are All Served By Withdrawing The Reference.

       Generally speaking, in a non-core matter, “judicial economy is better served by

withdrawing the reference and allowing a court of general jurisdiction to resolve the [whole]

matter.” Nukote Int’l, Inc. v. Office Depot, Inc., 2009 U.S. Dist. LEXIS 106702, *17 (M.D.

Tenn. Nov. 16, 2009); see also Messinger v. Chubb Grp. Of Ins. Cos., 2007 U.S. Dist. LEXIS



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35842, *6 – 7 (N.D. Ohio May 16, 2017) (“The court deciding this adversary proceeding will be

faced with issues of contract interpretation, insurance law and federal declaratory judgment

standards. While these issues are certainly not outside the scope of what a bankruptcy court can

do, they equally are not within the specialized grant of jurisdiction to the bankruptcy court, and

that distinction guides this Court to favor withdrawal.”). Nonetheless, FirstEnergy contends that

judicial economy is furthered by allowing the Bankruptcy Court to preside over this matter until

it is “trial-ready,” at which time this proceeding could be transferred to this Court for trial (if

necessary). The Plaintiff’s argument strains credulity.

       As noted above, Bluestone is entitled to a jury trial on the breach of contract claim and

has not consented to a final determination by the Bankruptcy Court. What this means in

practical terms is that no matter what else happens in this case, the Bankruptcy Court can only

make a recommendation to the District Court as it relates to Count II. See 28 U.S.C. § 157(c)(1).

Then, this Court would be required to conduct a de novo review of the report before it could

enter a final judgment, essentially doubling the time and expense required to adjudicate this

matter. Having two judges separately review the same arguments and same evidence is not

furthering judicial economy—it is undermining it. Indeed, this same problem arises if the

reference is only withdrawn as to the breach of contract claim, leaving the turnover claim to be

decided by the Bankruptcy Court. Under that scenario, this Court (and the parties) would

certainly be faced with duplicative proceedings and unnecessary expenditures of time and money

because any judgment entered by the Bankruptcy Court on the turnover claim is subject to an

appeal to this Court requiring a de novo review. See 28 U.S.C. § 158(a).

       FirstEnergy’s repeated claim that it will win on summary judgment is likewise without

merit. The Bankruptcy Court cannot enter a final judgment (only a recommendation) as to the




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breach of contract claim, and FirstEnergy is, frankly, highly unlikely to win on its purported

turnover claim. Section 542(b) provides that “an entity that owes a debt that is property of the

estate and that is matured, payable on demand, or payable on order, shall pay such debt to, or on

the order of, the trustee.” 11 U.S.C. § 542(b) (emphasis added). However, it is well settled that

“where the amount to be turned over is subject to dispute, an action for turnover is improper.”

VML Co., LLC v. Meguir’s Inc. (In re VML Co., LLC), 2017 Bankr. LEXIS 4625, *33 (Bankr.

W.D. Tenn. Mar. 10, 2017); see also In re Mobley, supra, at **8 – 9 (“[A]n action brought under

§ 542 for turnover cannot be used as a method to determine disputed rights of parties to property;

rather, turnover is a limited remedy for a trustee to obtain what is acknowledged to be property

of the bankruptcy estate.”).

       Here, FirstEnergy does not seek to “turnover” the remaining (if any) coal in the

stockpile—it seeks monetary damages for an undetermined amount of coal. Throughout its

Complaint, FirstEnergy describes both the amount of coal and the amount of money allegedly

owed in equivocal terms, as “roughly” or “approximately.” See Complaint [Doc. 1], at ¶¶ 12,

14.2 Even in its Opposition to Bluestone’s Motion to Dismiss, FirstEnergy again and again

describes the tonnage as being “roughly” measured.3 See Opposition [Doc. 9], n. 3 and p. 4.

These facts are confirmed by FirstEnergy’s other filings, including its Statement of Financial

Affairs and the Schedules to its Petition in May 2018, which lists a “Potential Litigation Claim”

against Bluestone but the amount requested and current value of the Debtor’s interest are listed

as “undetermined.” [See Doc. 547, p. 39.] Put simply, FirstEnergy cannot obtain a “turnover” of

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       Counting the Complaint, FirstEnergy has made demands for payment from Bluestone seeking three (3)
       separate amounts of money based upon three (3) separate amounts of coal allegedly remaining, thereby
       establishing that the amount of FirstEnergy’s claim is unliquidated and therefore not a proper turnover
       claim.
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       Before this Court, however, FirstEnergy has conveniently omitted that language, instead suggesting that the
       amounts of coal and its purported damages are precise, fixed numbers. See Response at p. 3.



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a disputed, unliquidated amount. FirstEnergy’s unrestrained optimism about its likelihood of

success on its turnover claim should thus be tempered, if not abandoned. Regardless, it fails to

provide a basis for denying Bluestone’s Motion to Withdraw.

        B.      In This Case There Are No Legitimate Concerns About Uniformity In
                Bankruptcy Administration Or Forum Shopping.

        Because Count II of the Adversary Complaint is based entirely upon state law, there is no

concern here that the Bankruptcy Court should preside so as to protect the uniform

administration of bankruptcy law. To the contrary, significant authority holds that District

Courts are better suited to preside over such claims. See Messinger, supra, 2007 U.S. Dist.

LEXIS 35842, at *6 – 7; see also In re Petition of McMahon, 222 B.R. 205, 208 (S.D.N.Y. 1998)

(“[U]niformity in the administration of bankruptcy law will not be affected as the breach of

contract claim does not turn on bankruptcy law.”). Further, Bluestone has not filed a proof of

claim and is not party to the Plaintiff’s main bankruptcy case.

        Similarly, there is no concern about forum shopping in this case. FirstEnergy does not

actually argue, so much as intimate, that Bluestone may be forum shopping. Yet, nothing could

be further from the truth. Bluestone merely seeks to enforce its right to a jury trial in the proper

forum on the Plaintiff’s state-law based claim and for that process to be as efficient and free of

redundancies as possible. The breach of contract claim is based upon an agreement and actions

that occurred pre-petition, and, but for FirstEnergy’s bankruptcy, would have necessarily been

brought in a federal district court.

                                         CONCLUSION

        Perhaps the court in Emerson v. Trinish, 2014 U.S. Dist. LEXIS 84237, *10 (N.D. Ohio

June 20, 2014), put it best. Where, as here, the cause is going to come before the District Court

at some point when a party exercises its right to a jury trial and does not consent to bankruptcy



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 court adjudication, it makes sense just to withdraw the reference and be done with it. “Whether

 through de novo review of a bankruptcy court summary judgment ruling or by conducting a jury

 trial, this adversary proceeding will likely require a final decision from the Court in the future.

 Classification of this claim as a non-core proceeding, [defendant’s] jury trial demand, judicial

 economy, and preserving the parties’ resources thus all point in favor of withdrawing the

 reference and issuing a final decision in this Court.” Id.

        For the foregoing reasons, Bluestone respectfully requests that the Court withdraw the

 reference of this Adversary Proceeding from the Bankruptcy Court.

                                                       Respectfully submitted


                                                        /s/ Richard A. Getty
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                               CERTIFICATE OF SERVICE

         It is hereby certified that a copy of the foregoing Reply Memorandum In Support Of
 Defendant’s Motion To Withdraw The Reference was served on this the 24th day of June, 2019,
 electronically in accordance with the method established under this Court’s CM/ECF
 Administrative Procedures and applicable Standing Order(s), if any, upon the following:

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